                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                       Criminal No. 20-113(1) (DSD/BRT)


 UNITED STATES OF AMERICA,

                     Plaintiff,
                                               GOVERNMENT’S MOTION FOR
        v.                                     AN EXTENSION OF TIME TO
                                               FILE SENTENCING POSITIONS
 JOSE A. FELAN, JR.,

                     Defendant.


      The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Emily Polachek and Melinda

Williams, Assistant United States Attorneys, hereby moves the Court for an extension

of the deadline for both parties to file their sentencing position pleadings. Counsel for

Mr. Felan has indicated that he does not oppose this motion.

      At present, the parties’ position papers are due on July 14, 2022.            The

Government seeks an extension of this deadline to July 22, 2022. Government counsel

have not had an opportunity to confer due to conflicting work and leave schedules. No

sentencing date has been scheduled, and a second short extension will not prejudice

Mr. Felan or otherwise adversely affect the interests of justice.
Dated: July 14, 2022       Respectfully Submitted,

                           ANDREW M. LUGER
                           United States Attorney

                           /s/ Emily Polachek
                           BY: EMILY POLACHEK
                           MELINDA WILLIAMS
                           Assistant U.S. Attorneys




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